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                          UNITED STATES DISTRICT COURT

                          SOUTHERN DISTRICT OF GEORGIA

                                                  DIVISION



                                              :
                                              :
                       Plaintiff,             :
                                              :
       vs.                                    :               Case No.
                                              :
                                              :
                                              :
                       Defendant.             :


                NOTICE OF ALTERNATIVE DISPUTE RESOLUTION
                                  and
                     CASE MANAGEMENT PROCEDURES


                               (LITIGANTS' BILL OF RIGHTS)
                                       S.D. Ga. LR 16.7



       Litigants in this Court may wish to utilize procedures that are available to assist the

speedy and efficient resolution of civil cases. This notice must be furnished by plaintiff's

counsel to his client and served with the complaint upon all defendants. Counsel for each party

represented shall ensure that the notice is filled out, signed by the party, and returned to the

Clerk's office (1) by counsel for the plaintiff within 15 days of filing the complaint, and (2) by

counsel for the defendant with the answer or other responsive pleading.




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                                Notice to Parties and Counsel



       1.      If all parties in a case elect to do so, a civil case in this Court can be referred to

non-binding mediation. The purpose of such is to assist the parties in understanding the

strengths and weaknesses of their respective positions and to facilitate settlement.

               Do you wish to use such a procedure and for your lawyer to meet with opposing

counsel and a Judge of this Court to establish a mediation plan for this case?




                                                        (answer yes or no)

       2.      If the parties in a case elect to do so, a civil case in this Court can be referred to

binding or non-binding arbitration. In some instances, arbitration may be quicker, cheaper, and

less formal than litigation. Its outcome can be binding or purely advisory, depending on the

parties' agreement. The parties can also agree to tailor the rules of procedure.

               Do you wish to consider such a procedure and for your lawyer to meet with

opposing counsel and a Judge of this Court to establish an arbitration plan for this case?



                                                        (answer yes or no)




       3.      If all parties in a case consent and the Court concurs, the right to proceed before

a United States District Judge may be waived, and the case can be presided over by a United

States Magistrate Judge.




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                Would you like to consider use of a Magistrate Judge and receive more

information on this alternative?




                                                         (answer yes or no)




        4.      After the complaint and answer are filed in a case, the rules of this Court normally

allow four (4) months for the completion of discovery. If discovery continues for a longer period

of time, it will be because the attorneys have requested an extension of time from the Court.



        5.      If justified by the complexity or difficulty of a case, the Court will consider the

entry of a special case management order. After hearing from the parties, this order would

supersede the Local Rules and provide new dates for the different aspects of discovery,

amendments to the pleadings, the filing of motions, conferences with the Court, and preparation

for the ultimate pretrial order and trial of the case.

        The lawyers for all of the parties are encouraged to consult concerning the need for such

a case management order.



        6.      At the completion of discovery and before trial, each party will be required to

participate in the filing of a pretrial order. In most cases, there will also be a pretrial conference

with the presiding Judge. At the conference, the Court will inquire about the prospects for




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settlement of the case. Normally the Court will require the client to be present in person or by

telephone.

               By Order of the Court.


                                                                 Clerk of Court




       I have reviewed with my attorney the above notice and have indicated my desired

responses to paragraphs 1, 2, and 3.

       This         day of                 , 20 .




                 Name and signature of party or Representative




                                             Certificate of Counsel

       I have furnished a copy of this notice to the party represented by me (including any

insurance company assisting with the cost of defense) and discussed with my client responses

to paragraphs 1, 2, and 3 which have been noted. I have also served opposing counsel with a

copy of this completed notice.

       This        day of                    , 20 .




                                 Attorney for




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NOTE: If there is unanimity among the parties that the case should be referred to

mediation, arbitration, or a Magistrate Judge, counsel for the plaintiff shall so notify the

Clerk, who will then inform the presiding District Judge of the parties' interest in one or

more of these procedures.




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